I. Jay Green and Beatrice F. Green, Petitioners, v. Commissioner of Internal Revenue, RespondentGreen v. CommissionerDocket No. 77980United States Tax Court35 T.C. 764; 1961 U.S. Tax Ct. LEXIS 224; February 16, 1961, Filed *224 Decision will be entered for the respondent.  Deduction -- Travel Expense -- Home.  -- The petitioners are not entitled to a deduction for travel expenses in Dayton, Ohio, from whence came all of the income-producing business.  Charles W. Slicer, Esq., for the petitioners.Gerald W. Fuller, Esq., for the respondent.  Murdock, Judge.  Fisher, J., dissenting.  Bruce, Withey, and Forrester, JJ., agree with this dissent.  MURDOCK *764 *225  The Commissioner determined deficiencies in income tax of the petitioners of $ 994.48 for 1954 and $ 424.84 for 1955.  The only issue for decision is the location of Jay's home for income tax purposes.FINDINGS OF FACT.The petitioners, husband and wife, filed their joint income tax returns for the taxable years with the district director of internal revenue at Toledo, Ohio.  They resided during those years at 107 Fairview Avenue, Greenville, Ohio, in a house owned by Beatrice's mother who also resided in that house and was claimed as a dependent on the petitioners' returns.Beatrice was employed during both taxable years by Sears, Roebuck and Company in Dayton, Ohio, as a division manager, and she commuted daily between Greenville and Dayton, the distance between the two being about 37 miles.  Jay was self-employed during those years, and described his occupation as "industrial and management engineer and consultant." Jay had an office during the taxable years at his Greenville residence.  It contained a desk, files, bookcases, technical and professional books, magazines, records, and clients' reports, and at that office he did some work at times not disclosed by the record.Attached*226  to each return is a Schedule C to show "Profit (or Loss) from Business or Profession." There is a place on those schedules for "Business address" and there for 1954 is shown "18 West Monument Avenue, Dayton, Montgomery, Ohio," and for 1955 is shown "384 West 1st Street (office service), Dayton 2, Montgomery, Ohio," Montgomery being the county in which Dayton is located.The addresses, 18 West Monument Avenue and 384 West 1st Street, Dayton, Ohio, were places where telephone calls to Jay would be *765  answered and mail addressed to him would be received, and where he had a telephone, listed in the Dayton telephone book under his name.  Jay had no office at either of these addresses, no equipment, and no facilities for work other than those mentioned.  Jay used business stationery during the taxable years, some of which showed his address and telephone number as 18 West Monument Avenue, Dayton 2, Ohio, Hemlock 3203, some of which showed that address and a telephone number and, in addition, showed his address in Greenville and a telephone number. Jay used business envelopes during the taxable years, some of which showed 18 West Monument Avenue, Dayton 2, Ohio, as the return address*227  and some of which showed his return address as 384 West 1st Street, Dayton 2, Ohio.  Jay used business cards during the taxable years, some of which showed the 18 West Monument Avenue, Dayton 2, Ohio, address and telephone number, some of which showed the 384 West 1st Street, Dayton 2, Ohio, address and a telephone number, and some of which showed both the 18 West Monument Avenue address and his address in Greenville together with a telephone number for each.Jay reported for 1954 gross receipts of $ 12,141.30, gross profit of $ 11,390.86, and net profit of $ 3,505.53 from his business.  Jay reported for 1955 gross receipts of $ 3,780, gross profit of $ 3,481.18, and $ 4,118.34 loss from business.  Jay reported no other income on either return and his wife reported as salary from Sears, Roebuck and Company $ 3,735.03 for 1954 and $ 3,805 for 1955.A former client, not otherwise identified in the record, recommended Jay to Lau-Blower Company of Dayton, Ohio, and he began his first task for it in March 1954.  The company wanted to know its costs as they occurred.  Jay estimated that this work would take about 6 months but actually he completed it in 4 months.  He then undertook another*228  task for the same company relating to an incentive system and group bonus.  This took about 2 months.  He then undertook another task for the same company.  It had to do with work simplification factors and the training of a time-study man.  It took 1 or 2 months.  He was then further engaged by the same company to realign machinery. This overlapped with the previous task.  He then was engaged by Lau-Blower to review production control, and he called in an associate to help him with this task.  Thereafter, he was engaged for about a month in developing an incentive system for a new, small department of Dayton Precision Manufacturing Company, also located in Dayton, Ohio.  This task took about 1 month and was performed in 1955.  The record does not show what part, if any, of the work done for Lau-Blower was done in 1955.  Jay had no income from any client in Greenville in either tax year.Jay remained overnight at his residence in Greenville, Ohio, not more than 50 days in 1954 and not more than 52 days in 1955.  Jay *766  remained overnight in Dayton 300 days in each of the taxable years, lodging at the Holden Hotel in Dayton.  Jay met with officials of Lau-Blower and with representatives*229  of a striking union at the hotel. He had many meetings at the plant, many of which took place early in the mornings and a great many took place late at night. Week after week he was in the plant as late as 10:30 at night.Jay expended for meals and lodging for himself while in Dayton $ 3,566.32 in 1954 and $ 3,737.04 during 1955.  He had automobile expenses of $ 1,082.09 in 1954 and $ 876.11 in 1955 attributable to travel between Dayton and Greenville and between the Hotel Holden and the Lau-Blower and Precision plants in Dayton.OPINION.The petitioners in their brief state that the Commissioner relies upon the facts that Jay had a Dayton telephone, a Dayton telephone listing, a Dayton telephone-answering service, and a Dayton address for answering mail. They apparently fail to realize that the burden is upon them to prove that Jay's home for tax purposes was in Greenville rather than in Dayton.  The Commissioner has denied the deductions claimed by the petitioners for travel expense upon the theory that Jay's home for tax purposes was in Dayton.  That determination is presumed to be correct and the burden to prove that it was erroneous is upon the petitioners.  The telephone *230  and mail receiving addresses are merely some evidence unfavorable to the petitioners, of which there is considerably more.Not only is the Commissioner's determination presumed to be correct, but the great preponderance of the evidence supports that determination.  Most of the facts have been stipulated and Jay was the only witness.  The parties have stipulated that Jay had no income from any client in Greenville during the taxable years, and there is no evidence to show that he ever was employed or had any income from business in Greenville.  The evidence shows, furthermore, that all of his income for the taxable years was derived from services in Dayton.  We cannot assume, in the absence of proof, that these years were not typical of his business activities. The only employment that he ever had as a consultant, so far as this record shows, was in Dayton, an industrial city much larger than Greenville.The fact that Jay had an office in his residence in Greenville is far from being determinative.  He could as well have had it in Dayton.  Jay testified that he "Made out reports for clients, the recommendations of work proposed, or to be done, or done for clients, procedures, designed*231  the forms, generator plant layouts, and the general paperwork involved in professional engineering" in Greenville, but he did not relate that statement to any work done during the taxable years.  However, with respect to realigning machinery for Lau-Blower in *767  1954, he testified, "Now, the plant layout and the majority of all the paper work was not done in Dayton.  The leg work, the time studies, were done at the plant, as is normal; but the other work was all taken back to my office in Greenville." The parties have stipulated that Jay remained overnight in Greenville at undisclosed times for not more than 50 nights in 1954 and was in Dayton for 300 nights. This, taken in connection with other evidence, leads the Court to doubt that he could have done very much, if any, of his work during the taxable years at his place in Greenville.  But even if he did do some work there, certainly by far the largest part of the work which he did to earn income during these taxable years was done in Dayton, and all of it could have been done there without travel expense had he resided there.  He may have worked only 1 month in 1955 yet was in Dayton 300 days.Jay testified in explanation*232  of the Dayton addresses which he used in his business, "Well, through analysis of our ethical way of contacting clients, I found that I got very few responses to Greenville, but that by having an answering service and a mail service where mail could reach me in a city like Dayton, I got a very much greater response, and contacts for my profession." At another place he said he did it "for a prestige standpoint."The evidence as a whole implies that Jay's only prospects of employment were in Dayton and that he, like his wife, chose to live in Greenville for personal reasons only, while earning income in Dayton.  Their work in Dayton does not give rise to business expenses under the circumstances shown in this record, even though Jay depended upon short-period employment.  If the record does not prove affirmatively that Dayton was Jay's home for tax purposes, nevertheless, the petitioners have failed to sustain their burden of proof that it was not.Decision will be entered for the respondent.  FISHERFisher, J., dissenting: In this, as in many cases, the purpose of the law is a valuable aid to interpretation.  The broad purpose of Congress in enacting section 162(a)(2) of the*233  Code of 1954 was to implement, in a practical way, its recognition of the fact that when the exigencies of business call for travel away from home, such travel usually entails expenses such as hotel bills, extra cost of meals, and transportation expenses not required at home.  Leaving aside, for the moment, the question of whether or not the taxpayer traveled "away from home," the stipulated facts show payments for hotel room and meals, together with at least some transportation expense.  The relationship of these expenses to his business activities is apparent from the record.  The taxpayer has thus brought himself within the practical application of *768  the law at least to the point of demonstrating actual payment of expenses.To my mind, the only real question in this case is whether taxpayer was "away from home." That the word "home" is a vague concept for tax purposes is recognized by the Supreme Court in Commissioner v. Flowers, 326 U.S. 465"&gt;326 U.S. 465, in which the Court said, in part (p. 471):The meaning of the word "home" in § 23 (a)(1)(A) with reference to a taxpayer residing in one city and working in another has engendered much difficulty*234  and litigation.  * * *(For authorities and rulings relating thereto, see notes 4 and 5 and cases cited by the Court in Flowers, on pages 471-472.)It is stipulated that taxpayer resided in Greenville during the years in question.  The testimony establishes that in the years in question he had an office in Greenville, and the majority, in its findings, describes the contents and uses thereof.  That he went to Dayton in pursuit of his business in 1954 and 1955 is clear upon the record.  The incurring of hotel expenses in a Dayton hotel when his residence was in Greenville lends some color to the view that he was not in an "at home" status at that time.These circumstances, to my mind, make out a prima facie case on the issues in controversy and meet any technical burden of proving that taxpayer traveled "away from home" in pursuit of his business.I agree that this Court is not bound to accept a prima facie case as conclusive.  We may find other supervening circumstances which require a contrary conclusion even though (as here) there is no conflicting evidence.What, then, are these supervening circumstances, if any?Petitioner had arrangements with a telephone- and mail-answering*235  service in Dayton.  These are facts to be considered, but to my mind are of little significance, particularly when he had no office in Dayton and did not receive or confer with clients at the answering service office.  I see no greater significance to the several addresses on his stationery and returns.Working at the plants could not, of itself, change his home to Dayton.  If a taxpayer's home automatically follows a temporary jobsite, no working man could ever be away from home while he was working.  In the instant case, it seems clear to me that he went to Dayton and remained there temporarily in pursuit of his own business to carry out short-term, impermanent assignments.Without going into details, I think it is clear that the use of the hotel was required by the exigencies of his business.  It was obviously not his home.  (Actually, if petitioner had raised the point, I think he would be entitled to deduct part of the hotel expense as rent under section 162(a)(3), whether in travel status or not, in view of its use for conferences as described in the findings of the majority.)*769  That the sources of his business activities in the 2 years in issue were in the Dayton area*236  is a factor to be considered, but is not, in my opinion, controlling on the issue of whether or not Dayton was his tax home. The sources in prior or subsequent years could have been Dayton or elsewhere, but the question of his tax home would still necessarily be determined by a consideration of all of the then relevant circumstances.Finally, there is the argument that petitioner could have moved to Dayton.  This, of course, he could have done.  I cannot agree, however, that Congress intended, or that the law as written requires, a taxpayer, in relation to temporary jobs of the nature here involved, to face the alternative of moving his home every time his job moved or paying travel expenses such as hotel bills without receiving the allowance of a deduction therefor.On the broader aspect of the case, therefore, I think the views of the majority are wrong in that they defeat the intent of Congress.  From the narrower standpoint, in my opinion, the conclusion reached by the majority cannot be justified on the theory of a failure to meet the burden of proof. 